






 							

	





NUMBER 13-08-00602-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      

							 

THE STATE OF TEXAS,				   			 Appellant,


v.


CASIMIRO VASQUEZ,					        	 	  Appellee.

                                                                                                                                      


On appeal from the 138th District Court

of Cameron County, Texas.

                                                                                                                      


  O P I N I O N


Before Chief Justice Valdez and Justices Rodriguez and Garza


  Opinion by Chief Justice Valdez
		The State appeals a trial court's order granting a motion to suppress that was filed
by appellee, Casimiro Vasquez.  See Tex. Code Crim. Proc. Ann. art. 44.01(a)(5) (Vernon
Supp. 2009) (providing that the State is entitled to appeal an order of a court in a criminal
case if the order grants a motion to suppress evidence).  In two issues, the State contends
that the trial court erred by (1) finding that Vasquez invoked his right to counsel during a
custodial interrogation, and (2) implicitly finding that Vasquez was subjected to a custodial
interrogation rather than a non-custodial interview.  We affirm.

I. Background

	On June 23, 2001, the body of Gerrado Garcia was found in Cameron County,
Texas.  Foul play was suspected.  Shortly after the murder, Guillermo Garcia and Vasquez
provided written statements to Cameron County Sheriff's deputies.  After Vasquez had
provided a written statement, he retained the law firm of Garcia &amp; Sorola, P.L.L.C. to
represent him throughout the murder investigation.  Gabby Garcia, a partner at the firm and
Vasquez's primary attorney, gave oral and written notice to Manuel Trevino, an investigator
at the district attorney's office, to arrange any further communications with Vasquez
through her because her law firm represented Vasquez.  Thereafter, the case went cold
for four years.

	On June 20, 2005, sheriff's deputies, who allegedly did not know that Vasquez was
represented by counsel, contacted Vasquez and secured a second written statement from
him despite the absence of Gabby Garcia, whose presence Vasquez had allegedly
repeatedly requested.  Approximately two years later, Guillermo Garcia and Vasquez were
indicted for the murder of Gerardo Garcia.  See Tex. Penal Code Ann. § 19.02 (Vernon
2003).  Vasquez pleaded not guilty to the charge.  Shortly after the indictment, Vasquez
moved to suppress his June 20, 2005 written statement on the grounds that it was taken
in violation of the Fourth, Fifth, Sixth, and Fourteenth Amendments to the United States
Constitution, article I, sections 9 and 10 of the Texas Constitution, and articles 1.05 and
38.23 of the Texas Code of Criminal Procedure.  See U.S. Const. amends. IV, V, VI, XIV;
Tex. Const. art. I, §§ 9, 10; Tex. Code Crim. Proc. Ann. arts. 1.05, 38.23 (Vernon 2005). 
The State did not respond in writing to Vasquez's motion. 

	On September 30, 2008, the trial court held a hearing on Vasquez's motion to
suppress.  At the hearing, the State called the following Cameron County Sheriff's
Department deputies:  Sergeant Andy Arreola, Captain Javier Reyna, and Lieutenant
Carlos Garcia.  Vasquez called Manuel Trevino, Gabby Garcia, and himself.

A.	The State's Witnesses

	1.	Sergeant Andy Arreola

	Arreola, an investigator, testified that he had only "minimum" involvement during the
initial 2001 investigation into Gerardo Garcia's murder and that he had not met Vasquez
until 2005.  In 2005, Reyna, Arreola's supervisor, assigned the "cold case" to Arreola, and
Arreola reviewed the whole file, including the 2001 statements of Guillermo Garcia and
Vasquez.  Arreola noticed alleged discrepancies between Guillermo Garcia's and
Vasquez's statements and decided to speak to Vasquez.

	On June 20, 2005, Arreola, accompanied by another sheriff's deputy, went to
Vasquez's house and asked Vasquez if he would accompany them to the sheriff's
department to talk about his 2001 statements regarding Gerrado Garcia's murder. 
According to Arreola, Vasquez cooperated and could have declined the invitation.  When
the three arrived at the department, Reyna read Vasquez his Miranda rights, see Miranda
v. Arizona, 348 U.S. 436, 444 (1966), and Vasquez signed a waiver of those rights. 
Arreola recalled that Reyna conducted most of the interview, and Reyna told Vasquez,
"You're free to leave if you don't want to answer, if you don't want to talk to us."  

	On cross-examination by Vasquez's counsel, Arreola acknowledged that he did not
call Vasquez when he discovered the alleged discrepancies, but instead, personally visited
him at home.  Arreola denied hearing Reyna tell Vasquez that he was or was not
represented by counsel, and stated that he never saw Reyna attempt to call Vasquez's
counsel on his cell phone.  Arreola was present throughout the interview, but stepped out
after the interview had concluded.  Arreola also stated that the file did not indicate whether
Vasquez was represented by counsel.

	2.	Captain Javier Reyna

	That same day, Reyna asked Arreola to bring Vasquez to the department.  Vasquez
was placed in Arreola's office, which, according to Reyna, is not normally used for custodial
interrogations.  Reyna testified that Vasquez did not say that he had a lawyer, and Reyna
claimed he did not call Gabby Garcia in reference to Vasquez.  

	On cross-examination by Vasquez's counsel, Reyna was asked why cell phone
records showed that there were two calls placed from a sheriff's office phone to Gabby
Garcia at 11:04 a.m. and 2:38 p.m. on June 20, 2005.  At 3:00 p.m. the same day, a call
from Reyna's personal cell phone was made to Gabby Garcia's cell phone. (1)  Reyna
confirmed that he could have called Gabby Garcia on other law enforcement matters
because, at the time of the interview, she was an assistant district attorney.

	3.	Lieutenant Carlos Garcia

	Carlos Garcia was present for parts of the interview with Vasquez.  After Vasquez
signed the statement, Carlos Garcia called Gabby Garcia "because of the circumstances
that we had during this case that we were looking at."  After June 20, 2005, Henry Juarez,
an attorney, called the sheriff's department and notified Carlos Garcia that he represented
Vasquez. 

	On cross-examination by Vasquez's counsel, Carlos Garcia testified that he did not
see Vasquez in handcuffs.  He also stated that confessions are taken in interview rooms
and offices alike.  

B.	Vasquez's Witnesses

	1.	Manuel "Manny" Trevino

	Trevino, an investigator with the district attorney's office, testified that he assisted
in the 2001 investigation.  Trevino was informed by Gabby Garcia that she represented
Vasquez and that any questions regarding Vasquez were to be addressed through her. 
Trevino did not make a note in the file because Armando Maldonado was the "case agent."
Trevino claimed he also informed Arreola of his conversation with Gabby Garcia because
Arreola had worked on the case.

	2.	Gabby Garcia

	Gabby Garcia worked for the Cameron County District Attorney's office from March
1996 through July 1999.  After 1999, she entered private practice until January 2005, when
she returned to the district attorney's office; she left the district attorney's office in August
2007.  In 2001, the law firm of Garcia &amp; Sorola, P.L.L.C. was retained to represent
Vasquez on a possible murder charge.  Gabby Garcia, a partner in the firm and Vasquez's
primary attorney, contacted Trevino and informed him in person and in writing that the firm
represented Vasquez.  After this notice, there was no activity in the case.  In 2005, when
Gabby Garcia became employed by the district attorney's office, she did not notify Vasquez
that she could no longer represent him.

	Before 11:00 a.m. on June 20, 2005, Gabby Garcia received a voice mail on her
office line from someone at the sheriff's department regarding Vasquez.  She spoke to
Carlos Garcia and Reyna.  After reviewing her June 2005 cell phone bill, Gabby Garcia
testified that she primarily spoke with Carlos Garcia about Vasquez.  

	On cross-examination by the State, Gabby Garcia testified that she received another
phone call from a sheriff's deputy at 11:04 a.m., and it was in reference to whether she
represented Vasquez.  

	3.	Casimiro Vasquez

	Vasquez testified that in 2005, two sheriff's deputies approached him at home and
asked him to accompany them to the sheriff's department for some questions, but they did
not say what the questions regarded.  According to Vasquez, the officers did not inform him
that he could refuse to go.  Vasquez testified that while sitting in Arreola's office, he told
Reyna that Gabby Garcia was his attorney, to which Reyna responded, "[You don't] have
a lawyer any more."  Vasquez rejoined by insisting that Gabby Garcia was his attorney. 
According to Vasquez, after he repeatedly informed Reyna about Gabby Garcia being his
attorney, Reyna tried calling Gabby Garcia.  Vasquez also stated that Reyna did not tell
him he was free to leave until after the statement was given.  Contrary to Arreola's
testimony, Vasquez claimed all three officers in the room asked questions. 

	On cross-examination by the State, Vasquez testified that the sheriff's deputies who
showed up at his house in 2005 "said [he] had to" go with them, but they did not handcuff
him.  Vasquez acknowledged signing his Miranda warnings and speaking to the authorities,
but he claimed that he did so because they insisted on talking to him.  Vasquez further
testified that he gave the statement because the deputies would not let him talk to his
attorney.

C.	Trial Court's Disposition

	On October 1, 2008, the trial court granted Vasquez's motion to suppress. 
Specifically, the trial court concluded that:

The Defendant, CASIMIRO VASQUEZ having previously declared his desire
to deal with the Cameron County Sheriff's Office only through counsel was
not subject to further interrogation until counsel had been made available to
him, unless the Defendant, CASIMIRO VASQUEZ had initiated the
communication, which he did not.  Here the communication with Defendant,
CASIMIRO VASQUEZ was at the insistence of the authorities, and his
statement on June 20, 2005 made without having had access to counsel did
not amount to a valid waiver and hence is inadmissible.


This appeal followed.

II. Custodial Interrogation or "Friendly Interview"

	In its second issue, the State contends that the trial court erred by implicitly finding
that Vasquez was subjected to a custodial interrogation when the 2005 statement was
made.  The State maintains that Miranda rights are inapplicable to the instant case
because, even though he was given a Miranda warning at the outset, Vasquez was not in
custody at the time he made his 2005 statement.  See Miranda, 384 U.S. at 444. 
According to the State, because Vasquez voluntarily participated in a "friendly non-custodial interview," sheriff's deputies were not required to stop questioning him when he
asked to speak to his attorney.  Vasquez counters by arguing that the 2005 statement was
elicited during a custodial interrogation because he did not feel free to leave until after he
gave the statement.

A.	Standard of Review

	We review the trial court's ruling on a motion to suppress evidence for abuse of
discretion, using a bifurcated standard.  See Guzman v. State, 955 S.W.2d 85, 88-89 (Tex.
Crim. App. 1997).  We give "almost total deference" to the trial court's findings of historical
fact that are supported by the record and to mixed questions of law and fact that turn on
an evaluation of credibility and demeanor.  Id. at 89.  We review de novo the trial court's
determination of the law and its application of law to facts that do not turn upon an
evaluation of credibility and demeanor.  Id.  When the trial court has not made a finding on
a relevant fact, we imply the finding that supports the trial court's ruling, so long as it finds
some support in the record.  State v. Kelly, 204 S.W.3d 808, 818-19 (Tex. Crim. App.
2006); see Moran v. State, 213 S.W.3d 917, 922 (Tex. Crim. App. 2007).  We will uphold
the trial court's ruling if it is reasonably supported by the record and is correct under any
theory of law applicable to the case.  State v. Dixon, 206 S.W.3d 587, 590 (Tex. Crim. App.
2006).

B.	Hallmarks of a Custodial Interrogation

	"A person is in custody if, under the totality of the circumstances, a reasonable
person would believe his freedom of movement was restrained to the degree associated
with a formal arrest."  Stansbury v. California, 511 U.S. 318, 322 (1994); Dowthitt v. State,
931 S.W.2d 244, 254-55 (Tex. Crim. App. 1996); Houston v. State, 185 S.W.3d 917, 920
(Tex. App.-Austin 2006, pet. ref'd).  "The 'reasonable person' test presupposes an
innocent person."  Florida v. Bostick, 501 U.S. 429, 438 (1991) (emphasis in original);
Dowthitt, 931 S.W.2d at 254.  Moreover, the initial determination of custody depends on
the objective circumstances of the interrogation, not the subjective views of the police or
the person being questioned.  Stansbury, 511 U.S. at 323; Dowthitt, 931 S.W.2d at 254;
Houston, 185 S.W.3d at 920.

	When a person voluntarily accompanies officers to an interview, and he knows or
should know that the police officers suspect he may be implicated in the crime under
investigation, he is not "restrained of his freedom of movement" and is not in custody. 
Shiflet v. State, 732 S.W.2d 622, 630 (Tex. Crim. App. 1985).  However, an interview that
begins as noncustodial may escalate into a custodial interrogation because of police
conduct during the encounter.  Dowthitt, 931 S.W.2d at 255.  

	In determining whether a custodial interrogation, we examine the totality of the
circumstances in light of the four factors discussed in Dowthitt, which are:  (1) if the
suspect is physically deprived of his freedom of action in any significant way; (2) if law
enforcement officers tell a suspect that he cannot leave; (3) if law enforcement officers
create a situation that would lead a reasonable person to believe that his freedom of
movement has been significantly restricted; or (4) if there is probable cause to arrest and
law enforcement officers do not tell the suspect that he is free to leave.  Id.

	In this case, Vasquez was given Miranda warnings at some point before he
executed the 2005 statement.  Some federal appellate courts have held that the reading
of Miranda warnings does not automatically transform a non-custodial setting into a
custodial interrogation.  See United States v. Bautista, 145 F.3d 1140, 1148 (10th Cir.
1998); Sprosty v. Buchler, 79 F.3d 635, 642 (7th Cir. 1996).  However, those courts have
also held that the giving of Miranda warnings is a factor in the determination of whether a
reasonable person would believe that he is in custody.  See Bautista, 145 F.3d at 1148;
Sprosty, 79 F.3d at 642. 

C.	Analysis

	Viewing the evidence in the light most favorable to the trial court's decision, we find
there is some evidence to support an implicit finding that Vasquez was physically deprived
of his freedom of action in a significant way by not being provided the retained counsel that
he repeatedly requested.  At the suppression hearing, Vasquez testified that, while at
home, he was approached by Arreola and a sheriff's deputy, and either Arreola or the
sheriff's deputy "said [he] had to" go to the sheriff's department for questioning. Once at
the sheriff's department, and while sitting in Arreola's office, Reyna gave Vasquez Miranda
warnings.  

	There is conflicting testimony as to what exactly transpired during the allegedly
"friendly interview."  According to Arreola, Reyna told Vasquez, "You're free to leave if you
don't want to answer, if you don't want to talk to us."  Vasquez then made the written
statement after being questioned by only Reyna.  However, according to Vasquez, the
"you're free to leave" statement did not occur until after he was questioned by Reyna,
Arreola, and another deputy, and after he had given his written statement.  Additionally,
Vasquez claimed that when he asked for his attorney, Gabby Garcia, Reyna told him, "[You
don't] have a lawyer any more", and the interview continued.  Faced with constant
questioning by three officers and Reyna's refusal to allow Vasquez to speak to his attorney,
Vasquez spoke to the officers and provided a written statement.

	A reasonable, innocent person in Vasquez's position who was:  (1) approached at
home by two sheriff's deputies and told that he "had to go" with them, without reference to
the matter in question, (2) taken to a sheriff's department office, (3) Mirandized, (4)
questioned by three officers, (5) repeatedly told, against his belief, that he was no longer
represented by a retained counsel, and (6) questioned after his repeated requests for
retained counsel, would have believed that he was in custody.  Even accounting for the
generally coercive nature of station-house questioning, see Mathiason, 429 U.S. at 495,
Reyna, Arreola, and the third deputy's actions went beyond the pale of a non-custodial
encounter because they effectively deprived Vasquez of his "freedom" to contact his
retained counsel.  The Seventh Circuit has noted that:

in the context of a prolonged detention where there is persistent, accusatory
questioning by several officers, the fact that the police observed certain
formalities of a custodial arrest[--such as Mirandizing a suspect--] without
actually telling the [the suspect] that he was under arrest does provide some
support for an inference that [the suspect] was in custody for the purposes
of Miranda.


Sprosty, 79 F.3d at 642.  Based upon the totality of the circumstances, and giving "almost
total deference" to the trial court's findings of historical fact, see Guzman, 955 S.W.2d at
89, we hold that the trial court did not err by implicitly finding that Vasquez was subjected
to a custodial interrogation.  The State's second issue is overruled. (2)

III. Assertion of Right to Counsel

	In its first issue, the State contends that the trial court erred by finding that, because
Vasquez was not allowed to consult with his counsel before being questioned, Vasquez's
statement should be suppressed.  The State cites Edwards v. Arizona, 451 U.S. 477, 486
(1981) as the governing authority for its first issue.  In Edwards, a suspect was given
Miranda warnings and questioned by police until he requested counsel.  Id. at 479.  The
interview then ceased, and the suspect was booked into jail.  Id.  The next day, police
visited the suspect in jail, asked to speak to him, re-Mirandized him, and obtained a
confession.  Id.  In holding that the suspect's confession should have been suppressed,
the Court wrote that "it is inconsistent with Miranda and its progeny for the authorities, at
their [insistence], to reinterrogate an accused in custody if he had clearly asserted his right
to counsel."  Id. at 485.  The State contends that the protections afforded by Edwards
somehow expired because the "re-interview" occurred four years after Vasquez's initial
request for counsel.  Putting the State's expiration argument aside, this case is
distinguishable from Edwards because the suspect in that case did not request counsel at
the re-interrogation, as Vasquez did.  Thus, Miranda, rather than Edwards, is the
appropriate Fifth Amendment authority to use in this case.  

	Miranda dictates that the assertion of the right to counsel is a significant event and
that once exercised by the accused, "the interrogation must cease until an attorney is
present."  384 U.S. at 474.  In overruling the State's second issue, we have already held
that Vasquez was subjected to a custodial interrogation.  Thus, the deputies' questioning
after Vasquez's insistence on his attorney violated Miranda.  The State's second issue is
overruled.

IV. Conclusion

	The trial court's suppression order is affirmed.	

	

							________________________

							ROGELIO VALDEZ

							Chief Justice	

Publish. 

Tex. R. App. P. 47.2(b)

Delivered and filed 

the 10th day of December, 2009. 
1.  The cell phone records do not appear in the record, but they were referenced by Vasquez's counsel
throughout the hearing, and no objection was made by the State.  
2.  The State contends that our decision in Zavala v. State, 956 S.W.2d 715, 725 (Tex. App.-Corpus
Christi 1997, no pet.) dictates reversal.  In Zavala, the appellant was convicted of capital murder, and on
appeal, she challenged the trial court's denial of her motion to suppress several statements, including two pre-arrest statements, on the ground that her termination of the initial interview was an exercise of her Fifth
Amendment right to remain silent on all subsequent interviews.  Id. at 722-23.  We held that, "[b]ecause
appellant was questioned with her consent, and was not a suspect initially, the police were not obligated to
give her Miranda warnings, and therefore her expression of her desire to terminate the interview [during the
initial interview] was not an invocation of a Fifth Amendment right which thereby obligated police to cease any
questioning."  Id. at 725.  This case is distinguishable because Vasquez requested counsel during a custodial
interrogation and relented, by executing the 2005 statement, only after repeated questions.  The appellant in
Zavala neither requested nor was denied the right to speak to an attorney during a custodial interrogation. 
See id.


